                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                        DOCKET NO.: 1:13-CR-043-MR-DLH

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
       v.                                 )                      ORDER
                                          )
(4) ALBERT TOMES,                         )
(5) TINA TOMES,                           )
(6) KEVIN VICKERS,                        )
                                          )
                  Defendants.             )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant Tina

Tomes’ “Motion To Suppress And Memorandum In Support” (Document No. 59) filed August

7, 2013. The motion was referred to the undersigned on September 23, 2013.

       IT IS, THEREFORE, ORDERED that the parties shall appear on Thursday,

December 5, 2013 at 9:30 a.m. in Courtroom #3, 401 W. Trade Street, Charlotte, North

Carolina 28202 for a hearing on the motion to suppress.

       SO ORDERED.


                                           Signed: November 19, 2013




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